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 1                          UNITED STATES DISTRICT COURT
 2
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS
 3
     DAN STADELMAN,                           )
 4
                                              )
 5                  Plaintiff                 )
                                              )   Case No.:
 6
           v.                                 )
 7                                            )   COMPLAINT AND DEMAND FOR
     ALLIED INTERSTATE LLC f/k/a              )   JURY TRIAL
 8   ALLIED INTERSTATE, INC.,                 )
 9
                                              )   (Unlawful Debt Collection Practices)

10                                      COMPLAINT
11
           DAN STADELMAN (“Plaintiff”), by and through his attorneys, KIMMEL
12
     & SILVERMAN, P.C., alleges the following against ALLIED INTERSTATE,
13

14   LLC f/k/a ALLIED INTERSTATE, INC. (“Defendant”):

15                                   INTRODUCTION
16
           1.       Plaintiff’s Complaint is based on the Fair Debt Collection Practices
17
     Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).
18

19                              JURISDICTION AND VENUE
20
           2.       Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
21
     which states that such actions may be brought and heard before “any appropriate
22

23
     United States district court without regard to the amount in controversy,” and 28

24   U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
25
     under the laws of the United States.

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 1         3.       Defendant    conducts    business    in   the   Commonwealth      of
 2
     Massachusetts; therefore, personal jurisdiction is established.
 3
           4.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 4

 5                                          PARTIES
 6
           5.       Plaintiff is a natural person residing in Lawrence, Massachusetts
 7
     01841.
 8

 9
           6.       Plaintiff is a person granted a cause of action under the FDCPA. See

10   15 U.S.C. § 1692k(a) and Wenrich v. Cole, 2000 U.S. Dist. LEXIS 18687 (E.D.
11
     Pa. Dec. 22, 2000).
12
           7.       Defendant is a national debt collection company with its corporate
13

14   headquarters located at 655 Madison Avenue, 27th Floor, New York, NY 10017.

15         8.       Defendant collects, and attempts to collect, consumer debts incurred,
16
     or alleged to have been incurred, for personal, family or household purposes on
17
     behalf of creditors and debt buyers using the U.S. mail, telephone and/or internet.
18

19         9.       Defendant is a “debt collector” as that term is defined by 15 U.S.C.

20   §1692a(6), and repeatedly contacted Plaintiff in its attempts to collect consumer
21
     debts of other persons.
22
           10.      Defendant acted through its agents, employees, officers, members,
23

24   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
25
     representatives, and insurers.

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 1

 2
                               FACTUAL ALLEGATIONS
 3
           11.     At all relevant times, Defendant was attempting to collect consumer
 4

 5   debts of other persons.
 6
           12.     Upon information and belief, the alleged debts at issue arose out of
 7
     transactions, which were primarily for personal, family, or household purposes.
 8

 9
           13.     Beginning in or before September 2013, Defendant made continuous

10   and repetitive calls to Plaintiff on his home phone.
11
           14.     Plaintiff does not owe the debt Defendant was attempting to collect.
12
           15.     Instead, the debts Defendant was attempting to collect allegedly were
13

14   owed by “Jennifer and Solomon Karim” and “Linda.”

15         16.     Plaintiff often would receive calls from Defendant and immediately
16
     hang-up.
17
           17.     After calls persisted, and wishing to stop the collection calls, on
18

19   September 20, 2013, Plaintiff answered the phone and spoke with one of

20   Defendant’s collectors, who identified herself as “Tiffany.”
21
           18.     “Tiffany” falsely stated that Plaintiff’s home telephone number had
22
     been provided as a secondary contact number for a “Jennifer and Solomon
23

24   Karim.”
25



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 1         19.    Upon information and belief, Defendant performed a skip trace and
 2
     obtained Plaintiff’s home telephone number.
 3
           20.    Plaintiff’s home telephone number has never been a contact number
 4

 5   for “Jennifer and Solomon Karim,” and “Jennifer and Solomon Karim” have
 6
     never resided in the Commonwealth of Massachusetts or at Plaintiff’s residence.
 7
           21.    Then, “Tiffany” inquired whether she could speak with “Linda.”
 8

 9
           22.    Plaintiff informed Defendant that the number it was calling was not a

10   good number for “Linda” and to remove his number from their call list.
11
           23.    “Linda” is Plaintiff’s ex-wife.
12
           24.    “Tiffany,” however, would not agree to remove Plaintiff’s number,
13

14   insisting it was “a good number for, Linda.”

15         25.    When making this false statement, Defendant had no information to
16
     contradict Plaintiff’s statement that it was calling the wrong number.
17
           26.    While on the phone with “Tiffany,” Plaintiff looked up Defendant’s
18

19   name and realized that it was a debt collector calling.

20         27.    When he asked “Tiffany” if she was calling from a debt collection
21
     company, “Tiffany” responded that “this is personal business matter for the
22
     debtors.”
23

24

25



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 1         28.    Knowing that he was being called by a debt collector and frustrated
 2
     by “Tiffany’s” insistence that she would keep calling his home telephone number,
 3
     Plaintiff demanded to speak with a supervisor.
 4

 5         29.    After much arguing, Plaintiff was finally transferred to a supervisor.
 6
           30.    The supervisor claimed that he would remove Plaintiff’s phone
 7
     number from its database.
 8

 9
           31.    Upon information and belief, Defendant did not remove his phone

10   number from its database; instead, Defendant continued to call Plaintiff in its
11
     attempts to collect consumer debts of other persons.
12
           32.    On or about September 27, 2013, Defendant called Plaintiff’s home
13

14   telephone number.

15         33.    This time, Plaintiff’s minor daughter answered the phone.
16
           34.    Defendant’s collector, who identified herself as “Tiffany,” asked to
17
     speak with “Jen.”
18

19         35.    Plaintiff’s minor daughter, believing that she has to answer

20   “Tiffany’s questions,” informed her that “Jen” did not live at the called number.
21
           36.    Then, “Tiffany” asked to speak with “Solomon.”
22
           37.    Plaintiff’s minor daughter responded that “Solomon” did not live at
23

24   the called number.
25



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 1          38.   Then, “Tiffany” asked if she could have a phone number for “Linda,”
 2
     which Plaintiff’s minor daughter provided, as she believed she had to answer all
 3
     of “Tiffany’s” questions.
 4

 5          39.   When Plaintiff learned about “Tiffany’s” conversation with his
 6
     daughter, he contacted Defendant and demanded to speak with a supervisor.
 7
            40.   Defendant’s collector refused to put a supervisor on the phone, and
 8

 9
     after placing Plaintiff on an indefinite hold, it hung up on him.

10          41.   Enraged by Defendant’s conduct, Plaintiff retained legal counsel to
11
     stop the collection calls.
12
            42.   While in the process of retaining counsel, Defendant again contacted
13

14   Plaintiff.

15          43.   This time Defendant claimed it was calling for “Christina.”
16
            44.   “Christina” does not reside with Plaintiff and does not use Plaintiff’s
17
     home telephone number as a contact number.
18

19          45.   In fact, Plaintiff has not had any contact with “Christina” for more

20   than ten (10) years.
21
            46.   When he asked the collector where it got his number, the collector
22
     replied that he did not know where the telephone number came from.
23

24          47.   Defendant contacted Plaintiff for the sole purpose of harassing,
25
     abusing and annoying Plaintiff, as evidenced by the above recital of its conduct.

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 1          DEFENDANT VIOLATED THE FAIR DEBT COLLECTION
 2
                          PRACTICES ACT

 3                                      COUNT I
 4
          48.   Defendant’s conduct, detailed in the preceding paragraphs, violated
 5
     15 U.S.C. § 1692b(3).
 6

 7              a.    Section 1692b(3) of the FDCPA prohibits a debt collector from

 8                    communicating with any person other than a consumer more
 9
                      than once unless requested to do so by such person or unless
10
                      the debt collector reasonably believes that the earlier response
11

12                    of such person is erroneous or incomplete and that such person
13                    now has correct or complete location information.
14
                b.    Here, Defendant violated §1692b(3) of the FDCPA by
15
                      communicating with Plaintiff more than once about another
16

17                    person’s debt, despite his repeated requests to stop calling him.
18
                                        COUNT II
19
          49.    Defendant’s conduct, detailed in the preceding paragraphs, violated
20

21
     15 U.S.C. §§ 1692d and 1692d(5).

22              a.    Section 1692d of the FDCPA prohibits a debt collector from
23
                      engaging in conduct the natural consequence of which is to
24
                      harass, oppress, or abuse any person in connection with the
25

                      collection of a debt.
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 1              b.    Section 1692d(5) of the FDCPA prohibits debt collectors from
 2
                      causing a telephone to ring or engaging any person in telephone
 3
                      conversation repeatedly or continuously with the intent to
 4

 5                    annoy, abuse, or harass any person at the called number.
 6
                c.    Here, Defendant violated §§ 1692d and 1692d(5) of the
 7
                      FDCPA when it called Plaintiff multiple times about debts of
 8

 9
                      other persons, despite knowing it was calling the wrong person

10                    and calling Plaintiff’s number when they did not know why
11
                      they were calling his number.
12
                                        COUNT III
13

14        50.   Defendant’s conduct, detailed in the preceding paragraphs, violated

15   15 U.S.C. §§ 1692e and 1692e(10).
16
                a.    A debt collector violates § 1692e of the FDCPA by using false,
17
                      deceptive    or    misleading   representations   or   means   in
18

19                    connection with the collection of any debt.

20              b.    Section 1692e(10) of the FDCPA prohibits debt collectors
21
                      from using any false representations or deceptive means to
22
                      collect or attempt to collect any debt or to obtain information
23

24                    concerning a consumer.
25
                c.    Defendant violated §§ 1692e and 1692e(10) of the FDCPA by

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 1                        falsely claiming that it got his number as a secondary contact
 2
                          number on an application completed by the alleged debtors as
 3
                          well as misleading his minor daughter into providing contact
 4

 5                        information for “Linda” when Plaintiff had refused to provide
 6
                          that information and instructing Defendant to stop calling.
 7
                                          COUNT IV
 8

 9
          51.   Defendant’s conduct, detailed in the preceding paragraphs, violated

10   15 U.S.C. § 1692f.
11
                a.    A debt collector violates §1692f of the FDCPA by using unfair
12
                      or unconscionable means to collect or attempt to collect any
13

14                    debt.

15              b.    Here, Defendant violated §1692f of the FDCPA engaging in
16
                      other unfair and unconscionable debt collection practices,
17
                      including failing to update its records to avoid the further
18

19                    placement of calls to Plaintiff, despite having been told by

20                    Plaintiff that he is not the person that they are seeking to
21
                      contact, that the people they are trying to contact do not live
22
                      with him, and to stop calling him, as well as engaging his
23

24                    minor daughter in conversation and obtaining information from
25
                      her by withholding the purpose of the call.

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 1          WHEREFORE, Plaintiff, DAN STADELMAN, respectfully prays for a
 2
     judgment as follows:
 3
                    a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
 4

 5                  b. Statutory damages of $1,000.00 for the violation of the FDCPA
 6
                       pursuant to 15 U.S.C. § 1692k(a)(2)(A);
 7
                    c. All reasonable attorneys’ fees, witness fees, court costs and other
 8

 9
                       litigation costs incurred by Plaintiff pursuant to 15 U.S.C. §

10                     1693k(a)(3); and
11
                    d. Any other relief deemed appropriate by this Honorable Court.
12
                                DEMAND FOR JURY TRIAL
13

14          PLEASE TAKE NOTICE that Plaintiff, DAN STADELMAN, demands a

15   jury trial in this case.
16
                                             RESPECTFULLY SUBMITTED,
17
       DATED: December 11, 2013              KIMMEL & SILVERMAN, P.C.
18
                                            By: /s/ Craig Thor Kimmel
19
                                               Craig Thor Kimmel
20                                             BBO# 662924
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